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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                                  CASE NO.

 ADIDAS AG, ADIDAS INTERNATIONAL MARKETING B.V., and
 ADIDAS AMERICA, INC.,

                   Plaintiffs,
 vs.

 ADIDAS--AUSTRALIA.COM a/k/a ADIDASBUDAPEST.COM a/k/a
 ADIDAS-BUDAPEST.COM a/k/a ADIDAS-COLOMBIA.COM a/k/a
 ADIDAS-DANMARK.COM a/k/a ADIDAS-EGYPT.COM a/k/a
 ADIDASFACTORYOUTLETUK.COM a/k/a
 ADIDASGREECEGR.COM a/k/a ADIDASGUATEMALA.COM a/k/a
 ADIDASHONDURAS.COM a/k/a ADIDASHRVATSKAHR.COM
 a/k/a ADIDASHU.TOP a/k/a ADIDAS-HUNGARY.COM a/k/a
 ADIDASHUNGARYAKCIOS.COM a/k/a
 ADIDASINROMANIA.COM a/k/a ADIDASINSVERIGE.COM a/k/a
 ADIDAS--IRELAND.COM a/k/a ADIDASITALIASCONTI.COM
 a/k/a ADIDASKSA.COM a/k/a ADIDASLOVENSKOSK.COM a/k/a
 ADIDASMAGYARORSZAG.COM a/k/a
 ADIDASMARIMEKKOSUOMI.COM a/k/a ADIDASMAROC.COM
 a/k/a ADIDASNICARAGUA.COM a/k/a
 ADIDASNMDROMANIA.TOP a/k/a ADIDASNZ-SALE.COM a/k/a
 ADIDASONLINEROMANIA.COM a/k/a ADIDASOUTLETMX.COM
 a/k/a ADIDAS-OUTLETNZ.COM a/k/a ADIDASOUTLETTR.COM
 a/k/a ADIDASPAKISTAN.COM a/k/a ADIDASPANAMA.COM a/k/a
 ADIDASPOLSKAPL.COM a/k/a ADIDAS-REDUCERI.COM a/k/a
 ADIDASROMANIA.BIZ a/k/a ADIDAS--ROMANIA.COM a/k/a
 ADIDASROMONLINESHOP.COM a/k/a ADIDAS--SCHWEIZ.COM
 a/k/a ADIDASSHOESGR.COM a/k/a ADIDASSHOESGREECE.COM
 a/k/a ADIDAS-SHOES-NZ.COM a/k/a ADIDASSKONORGE.COM
 a/k/a ADIDASSLEVACZ.COM a/k/a ADIDASSROMANIA.COM
 a/k/a ADIDASYEEZYSHOESUK.COM a/k/a ECUADOR-
 ADIDAS.COM a/k/a OSTERREICH-ADIDAS.COM a/k/a PERU-
 ADIDAS.COM a/k/a SVERIGE-ADIDAS.COM, ADIDAS1949.CLUB
 a/k/a ADIDAS1949.ONLINE a/k/a ADIDAS1949.TOP a/k/a
 ADIDAS1984.FUN a/k/a ADIDASAIR.TOP a/k/a ADIDASALE.FUN
 a/k/a ADIDASFUN.SHOP a/k/a ADIDASFUN.TOP a/k/a
 ADIDASNEAKER.CLUB a/k/a ADIDASNEAKER.SHOP a/k/a
 ADIDASSALE.TOP a/k/a ADIDAS-SERIES.TOP a/k/a ADIDAS-
 SHOPPING.CLUB a/k/a ADIDAS-TRIBAL.CLUB a/k/a ADIDAS-
 TRIBAL.TOP a/k/a ADIDASTUNR.CLUB a/k/a
 NEOADIDAS.SPACE a/k/a ONADIDAS.TOP a/k/a
 SUPERADIDAS.SHOP a/k/a TTADIDAS.COM a/k/a
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 USADIDASRUN.SHOP, ADIDASALES.TOP a/k/a
 ADIDASNEAKERS.SHOP a/k/a ADIDASOUTLET.TOP a/k/a
 ADIDASRUN1949.TOP a/k/a ADIDAS-RUNNER.SHOP a/k/a
 ADIDASSALES.TOP a/k/a ADIDASSNEAKERS.TOP a/k/a
 USADIDAS.CLUB a/k/a USADIDAS-RUN.ONLINE a/k/a
 USADIDAS-SPORT.ONLINE, ADIDAS-BELGIE.COM,
 ADIDASBUTYPL.COM a/k/a
 ADIDASFACTORYOUTLETSINGAPORE.COM a/k/a ADIDAS--
 MALAYSIA.COM a/k/a ADIDASNORGEOUTLET.COM a/k/a
 ADIDAS-PHILIPPINES.COM a/k/a ADIDASSCHUHEAT.COM,
 ADIDAS--CANADA.COM a/k/a ADIDASENCOSTARICA.COM
 a/k/a ADIDASFACTORYOUTLET.COM a/k/a
 ADIDASHOESCANADA.COM a/k/a ADIDASIRELANDIE.COM
 a/k/a ADIDASNZ.COM a/k/a ADIDASONLINEHRVATSKA.COM
 a/k/a ADIDASOUTLETWOODMEAD.COM a/k/a ADIDAS-
 SINGAPORE.COM a/k/a CANADAADIDAS.COM,
 ADIDASHOEJP.COM, ADIDASOUTLETNL.COM,
 ADIDASPOWER.TOP, ADIDASSHOESALEFR.COM,
 ADIDASYEEZYOUTLET.ORG a/k/a ADIDASYEEZYOUTLET.US
 a/k/a FAKEYEEZYS.US a/k/a SLINEXON.COM a/k/a
 YEEZYOUTLET.US a/k/a YEEZYS-350.COM a/k/a
 YEEZYSSLIDES.COM a/k/a YEEZY-STORE.COM a/k/a
 YEEZYV2.COM a/k/a YEEZYV2SALES.ORG, ADIDAS-
 YEEZYS.COM a/k/a ADIDASYEEZYSHOES.US a/k/a ADIDAS-
 YEEZY-SHOES.US a/k/a ADIDASYEEZYSSHOES.COM a/k/a
 CHEAPYEEZYSUPPLY.COM a/k/a YEEZYFOAMRUNNER.US
 a/k/a YEEZYSHOESS.NET a/k/a YEEZY-SLIDES.COM a/k/a
 YEEZYSLIDES.NET a/k/a YEEZY-SLIDES.US a/k/a
 YEEZYSLIDESHOE.COM a/k/a YEEZY-SLIDESS.COM a/k/a
 YEEZY-SLIDESUS.COM a/k/a YEEZY-SLIDES-US.COM a/k/a
 YEEZYSLIDESUS.NET a/k/a YEEZYSLIDESUS.US a/k/a
 YEEZYSLIDES-US.US a/k/a YEEZY-SLIDESUS.US a/k/a YEEZY-
 SLIDES-US.US a/k/a YEEZYSSHOESS.COM a/k/a YEEZYS-
 SLIDES.COM a/k/a YEEZYSSLIDES.US a/k/a YEEZY-SUPPLY.NET
 a/k/a YEEZYSUPPLYS.US a/k/a YEEZY-SUPPLYS.US a/k/a
 YEEZYSUPPLYSHOES.COM, ADIDASYEEZYS.ORG,
 ADIDASYEEZYSHOE.COM a/k/a ADIDASYEEZYUS.COM a/k/a
 YEEZY350BOOST-V2.US a/k/a YEEZYBOOST350.ORG a/k/a
 YEEZYSSHOES.US, BOOSTYEEZY.US a/k/a
 FABIOYEEZYS.CHEAP a/k/a REALCHEAPYEEZYS.COM a/k/a
 SHOPCHEAPSHOES.COM a/k/a YEEZYSV2.US,
 WOMENSADIDAS.XYZ, AMANDA888.COM, ANSHOES.STORE,
 APAIROFWALK.COM a/k/a DAILYSCHOENEN.COM a/k/a
 FAMOUSLINESHOE.COM, BUYARRIVE.COM,
 CHEAPCHINAJERSEYS.ORG a/k/a JERSEYSFATORY.COM a/k/a
 OFFICIALONLINESTORE.CO a/k/a VIPSPORTSUNIFORMS.COM


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 a/k/a WHOLESALEFLJERSEYSGEST.COM a/k/a
 WHOLESALEJERSEYS2022.COM, CHEAP-SHOESYEEZY.COM,
 CHEAPYEEZYS.CO, CHEAPYEEZYS.ORG, FAKEYEEZYS.ORG,
 FASHIONSREP.CO, FLIGHTCLUBSHOES.NET, GOGOYEEZY.CN
 a/k/a GOGOYEEZY.VIP, HERESTORE.SHOP a/k/a
 HOTKICKSBUY.COM a/k/a HOTKICKSSHOP.COM a/k/a
 KICKSBUYOK.COM a/k/a KICKSFINE.COM a/k/a
 MYNICESHOES.SHOP a/k/a STOCKXBUY.COM a/k/a ZRUX.SHOP
 a/k/a ZRVS.SHOP a/k/a ZVUY.SHOP, HOTAIRJORDAN.COM a/k/a
 MG7SNEAKERS.COM, HYPEBEASTSHOES.COM,
 ITALYYEEZY.COM, LUXXSPORTS.LIVE a/k/a
 LUXXSPORTS.XYZ a/k/a ROSECLOTHINGBAG.COM,
 SHOPYEEZY.SHOP a/k/a TIGERSJERSEYCAP.COM,
 YEEZYSCHEAP.COM a/k/a YEEZYSUPPLYY.US,
 SNEAKERSBP.COM a/k/a YEEZYESALE.COM, Y3SHOES.ORG
 a/k/a YEEZYBOOST700.US a/k/a YEEZYBOOSTUFFICIALE.COM,
 YEEZYBOOSTOUTLET.COM, YEEZYALINR.COM,
 YEEZYCR.INFO, and YEEZYLLC.COM, each an Individual, Business
 Entity, or Unincorporated Association,

                         Defendants.
 _________________________________________________________/

                COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

        Plaintiffs, adidas AG, adidas International Marketing B.V., and adidas America, Inc.,

 (collectively “Plaintiffs”), hereby sue Defendants the Individuals, Business Entities, and

 Unincorporated Associations identified in the caption, which are set forth on Schedule “A” hereto

 (collectively “Defendants”). Defendants are promoting, selling, offering for sale and/or

 distributing goods within this district using counterfeits and confusingly similar imitations of

 Plaintiffs’ trademarks within this district through various fully interactive commercial Internet

 websites operating under the domain names set forth on Schedule “A” hereto (the “Subject Domain

 Names”). In support of their claims, Plaintiffs allege as follows:

                                 JURISDICTION AND VENUE

        1.      This is an action for federal trademark counterfeiting and infringement, false

 designation of origin, cybersquatting, common law unfair competition, and common law


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 trademark infringement, pursuant to 15 U.S.C. §§ 1114, 1116, 1125(a) and (d), and The All Writs

 Act, 28 U.S.C. § 1651(a), and Florida’s common law. Accordingly, this Court has subject matter

 jurisdiction over this action pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338. This

 Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over Plaintiffs’ state law claims

 because those claims are so related to the federal claims that they form part of the same case or

 controversy.

         2.      Defendants are subject to personal jurisdiction in this district because they operate

 commercial websites accessible in this district, conduct business by registering and maintaining

 the Subject Domain Names within the United States, and direct business activities towards

 consumers throughout the United States, including within the State of Florida and this district

 through at least the fully interactive 1 commercial Internet websites accessible in Florida and

 operating under the Subject Domain Names. Alternatively, Defendants are subject to personal

 jurisdiction in this district pursuant to Federal Rule of Civil Procedure 4(k)(2) because (i)

 Defendants are not subject to jurisdiction in any state’s court of general jurisdiction; and (ii)

 exercising jurisdiction is consistent with the United States Constitution and laws.

         3.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 since Defendants are,

 upon information and belief, aliens engaged in infringing activities and causing harm within this

 district by advertising, offering to sell, and/or selling infringing products into this district.




 1
   Some Defendants use their Subject Domain Names to act as supporting domain names to direct
 traffic to their fully interactive, commercial websites operating under other Subject Domain
 Names, from which consumers can complete purchases. Accordingly, the web pages for the
 Subject Domain Names which operate as redirecting websites are included with the web pages to
 which those sites redirect, as shown in Composite Exhibit “2” hereto.

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                                        THE PLAINTIFFS

        4.      Plaintiff adidas AG (“adidas AG”) is a joint stock company organized and existing

 under the laws of the Federal Republic of Germany, having its office and principal place of

 business at Postach 1120, D-91072 Herzogenaurach, Federal Republic of Germany. adidas AG is

 currently, and for years has been, one of the world’s leading manufacturers of athletic footwear

 and apparel, including products bearing the distinctive             ,       ,   , Three-Stripe Mark,

 THE BRAND WITH THE 3 STRIPES Mark, BOOST Mark, STAN SMITH Mark, NMD Mark,

 and SPLY-350 Mark.

        5.      Plaintiff adidas International Marketing B.V. (“adidas International”) is a

 corporation organized and existing under the laws of Netherlands, having its principal place of

 business in the Netherlands. adidas International is wholly owned by adidas AG and its affiliates.

        6.      Plaintiff adidas America, Inc. (“adidas America”) is a corporation organized and

 existing under the laws of the State of Oregon, having its principal place of business at 5055 N.

 Greeley Avenue, Portland, Oregon, 97217. adidas America is wholly owned by adidas AG and its

 affiliates, and within this country adidas America is a licensed distributor of adidas-branded

 merchandise, including goods using the distinctive             ,        ,   , Three-Stripe Mark, THE

 BRAND WITH THE 3 STRIPES Mark, BOOST Mark, STAN SMITH Mark, NMD Mark, and

 SPLY-350 Mark. adidas AG, adidas International, and adidas America shall be referred to herein

 collectively as “adidas.”

        7.      Plaintiffs’ goods are sold through various channels of trade within the State of

 Florida, including this district. Defendants, through the advertising, sale, and offering for sale of

 counterfeit and infringing versions of Plaintiffs’ branded products, are directly and unfairly




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 competing with Plaintiffs’ economic interests in the United States, including the State of Florida

 and causing Plaintiffs irreparable harm and damage within this jurisdiction.

        8.      Like many other famous trademark owners, Plaintiffs suffer ongoing daily and

 sustained violations of their trademark rights at the hands of counterfeiters and infringers, such as

 Defendants herein, who wrongfully reproduce and counterfeit Plaintiffs’ trademarks for the twin

 purposes of (i) duping and confusing the consuming public and (ii) earning substantial profits.

        9.      To combat the indivisible harm caused by the combined actions of Defendants and

 others engaging in similar conduct, each year Plaintiffs expend significant monetary and other

 resources in connection with trademark enforcement efforts, including legal fees, investigative

 fees, and support mechanisms for law enforcement. The exponential growth of counterfeiting over

 the Internet has created an environment that require companies such as Plaintiffs to expend

 significant resources across a wide spectrum of efforts to protect both consumers and themselves

 from the confusion and erosion of the goodwill embodied in Plaintiffs’ brands.

                                       THE DEFENDANTS

        10.     Defendants operate through domain names registered with registrars in multiple

 countries, including the United States, and are comprised of individuals, business entities of

 unknown makeup, or unincorporated associations each of whom, upon information and belief,

 likely reside and/or operate in foreign jurisdictions or redistribute products from the same or

 similar sources in those locations. Defendants have the capacity to be sued pursuant to Federal

 Rule of Civil Procedure 17(b). Defendants target their business activities toward consumers

 throughout the United States, including within this district, through the simultaneous operation of,

 at least, the fully interactive commercial websites under the Subject Domain Names.




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        11.     Defendants use aliases in conjunction with the operation of their businesses,

 including but not limited to those identified by Defendant Number on Schedule “A.”

        12.     Defendants are directly and personally contributing to, inducing and engaging in

 the sale of counterfeit branded products as alleged herein, often as partners, co-conspirators and/or

 suppliers.

        13.     Defendants are part of an ongoing scheme to create and maintain an illegal

 marketplace enterprise on the World Wide Web, which (i) confuses consumers regarding the

 source of Defendants’ goods for profit, and (ii) expands the marketplace for illegal, counterfeit

 versions of Plaintiffs’ branded goods while shrinking the legitimate marketplace for Plaintiffs’

 genuine branded goods. The natural and intended byproduct of Defendants’ combined actions is

 the erosion and destruction of the goodwill associated with Plaintiffs’ famous names and

 associated trademarks, as well as the destruction of the legitimate market sector in which they

 operate.

        14.     Defendants are the past and/or present controlling forces behind the operation of

 websites operating under at least the Subject Domain Names.

        15.     Defendants directly engage in unfair competition with Plaintiffs by (i) advertising,

 offering for sale and/or selling goods each using counterfeits and infringements of one or more of

 Plaintiffs’ trademarks to consumers within the United States and this district through at least the

 fully interactive, commercial Internet websites operating under the Subject Domain Names, as

 well as additional domains and websites not yet known to Plaintiffs and (ii) creating and

 maintaining an illegal marketplace enterprise for the purpose of diverting business from Plaintiffs’

 legitimate marketplace for their genuine goods. Defendants have purposefully directed some

 portion of their illegal activities towards consumers in the State of Florida through the



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 advertisement, offer to sell, and/or sale of counterfeit branded goods into the State, and by

 operating an illegal marketplace enterprise which impacts and interferes with legitimate commerce

 throughout the United States, including within the State of Florida.

         16.    Defendants have registered, established, or purchased and maintained the Subject

 Domain Names, and the websites operating thereunder. Defendants may have engaged in

 fraudulent conduct with respect to the registration of the Subject Domain Names by providing

 false and/or misleading information during the registration or maintenance process related to their

 respective Subject Domain Names. Many Defendants have registered and/or maintained their

 Subject Domain Names for the sole purpose of engaging in unlawful infringing and counterfeiting

 activities.

         17.    Defendants will likely continue to register or acquire new domain names for the

 purpose of selling and offering for sale goods using counterfeit and confusingly similar imitations

 of Plaintiffs’ trademarks unless preliminarily and permanently enjoined. Moreover, Defendants

 will likely continue to maintain and grow their illegal marketplace enterprise at Plaintiffs’ expense

 unless preliminarily and permanently enjoined.

         18.    Defendants’ Subject Domain Names and any other domain names and aliases used

 in connection with the sale of counterfeit and infringing goods using one or more of Plaintiffs’

 trademarks are essential components of Defendants’ online activities and are the means by which

 Defendants further their counterfeiting and infringement scheme and cause harm to Plaintiffs.

 Moreover, Defendants are using Plaintiffs’ famous names and trademarks to drive Internet

 consumer traffic to their websites operating under the Subject Domain Names, thereby increasing

 the value of the Subject Domain Names and decreasing the size and value of Plaintiffs’ legitimate

 marketplace and intellectual property rights at Plaintiffs’ expense.



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                              COMMON FACTUAL ALLEGATIONS

        adidas’s Trademark Rights

        19.     adidas is currently, and for years has been, one of the world’s leading manufacturers

 of athletic footwear, apparel, and sporting equipment. adidas has used its famous and distinctive

 trademarks            ,       ,   , Three-Stripe Mark, THE BRAND WITH THE 3 STRIPES Mark,

 BOOST Mark, STAN SMITH Mark, NMD Mark, and SPLY-350 Mark (collectively, the “adidas

 Marks”), for many years in connection with the above-mentioned goods. The adidas Marks signify

 the quality and reputation of adidas products.

        20.     adidas is the owner of multiple trademark registrations for the adidas Marks,

 including the following valid trademark registrations, issued by the United States Patent and

 Trademark Office:

                      Registration       Registration
    Trademark                                                          Class / Goods
                       Number               Date
                                                     IC25. sport shoes namely, track and field
                                                     shoes, baseball, boxing, football, skating,
                                                     golf, and soccer shoes; sportswear
     ADIDAS                0,891,222    May 19, 1970 namely, suits, shorts, pants, tights, shirts,
                                                     gloves, and the like; jerseys; socks; sport
                                                     shoes namely, track and field training
                                                     shoes, basketball shoes, and tennis shoes.
                                                     IC 018. tote bags.
                                                     IC 25. specific purpose athletic shoes;
                                        November 20,
                           0,973,161                 general purpose sport shoes, sportswear-
                                            1973
                                                     namely, suits, shorts, pants, tights, shirts,
                                                     jerseys, socks, and gloves.
                                                     IC 025. Sportswear-Namely, Suits,
                                                     Shorts, Pants, Tights, Shirts, Jerseys,
                                         October 16,
                           1,300,627                 Socks,     Gloves,      Jackets,      Coats,
                                            1984
                                                     Swimwear, Sweaters, Caps, Pullovers,
                                                     Warm-Up Suits, Boots, Shoes, Slippers.




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                                                IC 025. Sportswear-Namely, Suits,
                                                Shorts, Pants, Tights, Shirts, Jerseys,
                                December 18, Socks,         Gloves,    Jackets,    Coats,
                   1,310,140
                                    1984        Swimwear, Sweaters, Caps, Pullovers,
                                                Warm-Up Suits, Rain Suits, Ski Suits,
                                                Jump Suits, Boots, Shoes, Slippers.
                                                IC 025. boots, slippers, sandals; shoes,
    THE BRAND
                                                boots and after ski boots for hiking and
    WITH THE 3     1,674,229   February 4, 1992
                                                trekking, athletic shoes and general-
     STRIPES
                                                purpose sports shoes.
                                                IC 018. All purpose sport bags, athletic
                                                bags, traveling bags, backpacks,
                                                knapsacks.
                                                IC 025. Sports and leisure wear, namely,
                                                shorts, pants, shirts, T-shirts, jerseys,
                                                socks, gloves, jackets, swimwear, caps
                                December 12,
                   2,411,802                    and hats, pullovers, sweat-shirts, sweat
                                    2000
                                                suits, track suits, warm-up suits; boots,
                                                sandals, specific purpose athletic shoes
                                                and general all purpose sports shoes.
                                                IC 028. Sports balls and playground balls;
                                                guards for athletic use, namely, shin
                                                guards, knee guards and leg guards.
                                December 13,
                   3,029,129                      IC 025. Footwear.
                                   2005

                                December 13,
                   3,029,135                      IC 025. Footwear.
                                   2005
                                                IC 009. Optical apparatus and
                                                instruments, namely, eyeglasses and
                                                sunglasses.
                                                IC 014. Horological and chronometric
                                                instruments, namely, watches
                                                IC 018. Leather and imitations of leather,
                                                and goods made from these materials in
                   3,104,117    June 13, 2006   the nature of bags for general and sport
                                                use, namely, handbags, tote bags, waist
                                                packs, overnight bags, backpacks,
                                                knapsacks and beach bags; trunks;
                                                traveling bags for general and sport use;
                                                leather and imitations of leather and
                                                goods made from these materials,
                                                namely, wallets, briefcases.



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                                                           IC 025. Sports and leisure wear, namely
                                                           suits, shorts, pants, sweatpants, skirts,
                                                           skorts, dresses, blouses, shirts, T-shirts,
                                                           sleeveless tops, polo shirts, vests, jerseys,
                                                           sweaters, sweatshirts, pullovers, coats,
                                                           jackets, track suits, training suits, warm-
                                                           up suits, swimwear, underwear, socks,
                                                           gloves, scarves, wristbands and belts;
                                                           headgear, namely caps, hats, visors,
                                                           headbands; athletic footwear and leisure
                                                           foot wear, namely boots, sandals, specific
                                                           purpose athletic shoes and general
                                                           purpose sports shoes.
                                          February 24,     IC 025.      Clothing,    namely,     shirts;
                         3,580,958
                                             2009          footwear.

   STAN SMITH            3,590,187       March 17, 2009 IC 025. Footwear.


        NMD              5,218,628        June 6, 2017     IC 025. Footwear.

                                          February 27,
      SPLY-350           5,413,495                         IC 025. Footwear
                                             2018

  The adidas Marks are used in conjunction with the design, manufacture, and distribution of quality

  goods in the categories identified above. True and correct copies of the Certificates of Registration

  for the adidas Marks are attached hereto as Composite Exhibit “1.”

         21.      The adidas Marks have been used in interstate commerce to identify and distinguish

  adidas products for an extended period of time and serve as symbols of adidas’s quality, reputation,

  and goodwill.

         22.      The adidas Marks are well-known and famous and have been for many years.

  adidas has expended substantial resources developing, advertising and otherwise promoting the

  adidas Marks. Specifically, adidas has used the adidas Marks in connection with its frequent

  sponsorship of sports tournaments and organizations, as well as professional athletes and collegiate

  sports teams. For example, adidas has long-term relationships with the University of Nebraska,


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  and the University of Louisville. Among many others, NBA stars Derrick Rose and James Harden,

  NFL stars Aaron Rodgers and Dak Prescott, NHL star P.K. Subban, baseball player Kris Bryant,

  and soccer stars David Beckman and Lionel Messi all are sponsored by adidas. For many years,

  adidas has been a sponsor of the World Cup soccer tournament, has sponsored the world-famous

  Boston Marathon for more than a decade, and has sponsored many other events, teams, and

  individuals. Prominent use of the adidas Marks in connection with these sponsorship activities has

  further enhanced the adidas Marks’ recognition and fame.

         23.     adidas extensively uses, advertises, and promotes the adidas Marks in the United

  States in association with the sale of quality products. adidas expends enormous resources

  promoting the adidas Marks and products bearing the adidas Marks. In recent years, annual sales

  of products using the adidas Marks have totaled in the billions of dollars globally and in the

  hundreds of millions of dollars within the United States.

         24.     The adidas Marks have achieved secondary meaning among consumers as

  identifiers of quality goods as a result of adidas’s advertisement, promotion, and sale of such goods

  thereunder.

         25.     As a result of adidas’s efforts, members of the consuming public readily identify

  merchandise bearing or sold using the adidas Marks, as being quality merchandise sponsored and

  approved by adidas.

         26.     adidas has carefully monitored and policed the use of the adidas Marks and has

  never assigned or licensed the adidas Marks to any Defendant in this matter.

         27.     Genuine goods bearing the adidas Marks are widely legitimately advertised and

  promoted by adidas, authorized distributors and unrelated third parties via the Internet. Visibility

  on the Internet, particularly via Internet search engines such as Google, Yahoo!, and Bing is



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  important to adidas’s overall marketing and consumer education efforts. Thus, adidas expends

  significant monetary and other resources on Internet marketing and consumer education, including

  search engine optimization (“SEO”) and search engine marketing (“SEM”) strategies. Those

  strategies allow adidas and its authorized retailers to educate consumers fairly and legitimately

  about the value associated with the adidas Marks and the goods sold thereunder. Similarly, many

  of Defendants’ websites are indexed on search engines and compete directly with Plaintiffs for

  space and consumer attention in search results.

         Defendants’ Infringing Activities

         28.     In blatant disregard of Plaintiffs’ rights, Defendants are each promoting and

  advertising, distributing, offering for sale, and/or selling goods in interstate commerce using

  counterfeits and confusingly similar imitations of one or more of the adidas Marks (the

  “Counterfeit Goods”) through at least the fully interactive commercial Internet websites operating

  under the Subject Domain Names. True and correct copies of the web pages reflecting samples of

  the Internet websites operating under the Subject Domain Names displaying Plaintiffs’ branded

  items offered for sale are attached hereto as Composite Exhibit “2.” Specifically, Defendants are

  each using the adidas Marks to initially attract online consumers and drive them to Defendants’

  websites operating under the Subject Domain Names. Defendants are each using identical copies

  of one or more of the adidas Marks for different quality goods. Plaintiffs have used the adidas

  Marks extensively and continuously before Defendants began offering counterfeit and confusingly

  similar imitations of Plaintiffs’ merchandise.

         29.     Defendants’ Counterfeit Goods are of a quality substantially different than that of

  Plaintiffs’ genuine goods. Defendants are actively using, promoting and otherwise advertising,

  distributing, offering for sale, and/or selling substantial quantities of their Counterfeit Goods with



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  the knowledge and intent that such goods will be mistaken for the genuine quality goods offered

  for sale by Plaintiffs despite Defendants’ knowledge that they are without authority to use the

  adidas Marks. Defendants’ actions are likely to cause confusion of consumers at the time of initial

  interest, sale, and in the post-sale setting, who will believe all of Defendants’ goods are genuine

  goods originating from, associated with, and/or approved by Plaintiffs.

         30.     Defendants advertise their websites, including their Counterfeit Goods, to the

  consuming public via at least the websites operating under the Subject Domain Names. In so

  advertising their stores and products, Defendants improperly and unlawfully use one or more of

  the adidas Marks without authority.

         31.     Defendants are, upon information and belief, concurrently employing and

  benefitting from substantially similar, advertising and marketing strategies based, in large

  measure, upon an illegal use of counterfeits and infringements of the adidas Marks. Specifically,

  Defendants are using counterfeits and infringements of Plaintiffs’ famous names and the adidas

  Marks to make their websites selling illegal goods appear more relevant and attractive to

  consumers searching for both Plaintiffs’ and non-Plaintiffs’ goods and information online. By their

  actions, Defendants are contributing to the creation and maintenance of an illegal marketplace

  operating in parallel to the legitimate marketplace for Plaintiffs’ genuine goods. Defendants are

  causing individual, concurrent and indivisible harm to Plaintiffs and the consuming public by (i)

  depriving Plaintiffs of their right to fairly compete for space online and within search engine results

  and reducing the visibility of Plaintiffs’ genuine goods on the World Wide Web, (ii) causing an

  overall degradation of the value of the goodwill associated with the adidas Marks, (iii) increasing

  Plaintiffs’ overall cost to market their goods and educate consumers about their brands via the

  Internet, and/or (iv) maintaining an illegal marketplace enterprise which perpetuates the ability of



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  Defendants and future entrants to that marketplace to confuse consumers and harm Plaintiffs with

  impunity.

         32.     Defendants are concurrently conducting and targeting their counterfeiting and

  infringing activities toward consumers and likely causing unified harm within this district and

  elsewhere throughout the United States. As a result, Defendants are defrauding Plaintiffs and the

  consuming public for Defendants’ own benefit.

         33.     At all times relevant hereto, Defendants have had full knowledge of Plaintiffs’

  ownership of the adidas Marks, including their exclusive rights to use and license such intellectual

  property and the goodwill associated therewith.

         34.     Defendants’ use of the adidas Marks, including the promotion and advertisement,

  reproduction, distribution, sale and offering for sale of their Counterfeit Goods, is without

  Plaintiffs’ consent or authorization.

         35.     Defendants are engaging in the above-described illegal counterfeiting and

  infringing activities knowingly and intentionally or with reckless disregard or willful blindness to

  Plaintiffs’ rights for the purpose of trading on Plaintiffs’ goodwill and reputations. If Defendants’

  intentional counterfeiting and infringing activities are not preliminarily and permanently enjoined

  by this Court, Plaintiffs and the consuming public will continue to be harmed.

         36.     Defendants’ above identified infringing activities are likely to cause confusion,

  deception, and mistake in the minds of consumers before, during, and after the time of purchase.

  Moreover, Defendants’ wrongful conduct is likely to create a false impression and deceive

  customers into believing there is a connection or association between Plaintiffs’ genuine goods

  and Defendants’ Counterfeit Goods, which there is not.




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         37.     Additionally, Defendant Numbers 1–16 have registered their respective Subject

  Domain Names, using marks that are nearly identical and/or confusingly similar to at least one of

  the adidas Marks, (the “Cybersquatted Subject Domain Names”).

         38.     Defendant Numbers 1–16 have registered and/or used the Cybersquatted Subject

  Domain Names with the bad faith intent to profit from the adidas Marks.

         39.     Defendants do not have, nor have they ever had, the right or authority to use the

  adidas Marks for any purpose. Further, the adidas Marks have never been assigned or licensed to

  be used on any of the websites operating under the Cybersquatted Subject Domain Names.

         40.     Upon information and belief, Defendant Numbers 1–16 have provided false and/or

  misleading contact information when applying for the registration of the Cybersquatted Subject

  Domain Names, or have intentionally failed to maintain accurate contact information with respect

  to the registration of the Cybersquatted Subject Domain Names.

         41.     Defendant Numbers 1–16 have never used the Cybersquatted Subject Domain

  Names in connection with a bona fide offering of goods or services.

         42.     Defendant Numbers 1–16 have not made any bona fide non-commercial or fair use

  of the adidas Marks on a website accessible under the Cybersquatted Subject Domain Names.

         43.     Defendant Numbers 1–16 have intentionally incorporated at least one of the adidas

  Marks in their Cybersquatted Subject Domain Names to divert consumers looking for Plaintiffs’

  websites to their own websites for commercial gain.

         44.     Given the visibility of Defendants’ various websites and the similarity of their

  actions, it is clear Defendants are either affiliated or at a minimum, cannot help but know of each

  other’s existence and the unified harm likely to be caused to Plaintiffs and the overall consumer

  market in which they operate as a result of Defendants’ concurrent actions.



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         45.     Although some Defendants may be physically acting independently, they may

  properly be deemed to be acting in concert because the combined force of their actions serves to

  multiply the harm caused to Plaintiffs.

         46.     Plaintiffs have no adequate remedy at law.

         47.     Plaintiffs are suffering irreparable injury and have suffered substantial damages

  because of Defendants’ unauthorized and wrongful use of the adidas Marks.

         48.     The harm and damages sustained by Plaintiffs have been directly and proximately

  caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offers to sell, and

  sale of their Counterfeit Goods and by the creation, maintenance and very existence of Defendants’

  illegal marketplace enterprise.

           COUNT I - TRADEMARK COUNTERFEITING AND INFRINGEMENT
             PURSUANT TO § 32 OF THE LANHAM ACT (15 U.S.C. § 1114)

         49.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 48 above.

         50.     This is an action for trademark counterfeiting and infringement against Defendants

  based on their use of counterfeit and confusingly similar imitations of the adidas Marks in

  commerce in connection with the promotion, advertisement, distribution, offering for sale, and/or

  sale the Counterfeit Goods.

         51.     Specifically, Defendants are promoting and otherwise advertising, selling, offering

  for sale, and distributing goods using counterfeits and infringements of one or more of the adidas

  Marks. Defendants are continuously infringing and inducing others to infringe the adidas Marks

  by using one or more of the adidas Marks to advertise, promote, offer to sell, and/or sell counterfeit

  and infringing branded goods.




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         52.     Defendants’ concurrent counterfeiting and infringing activities are likely to cause

  and are causing confusion, mistake and deception among members of the trade and the general

  consuming public as to the origin and quality of Defendants’ Counterfeit Goods.

         53.     Defendants’ unlawful actions have caused and are continuing to cause

  unquantifiable damage to Plaintiffs and are unjustly enriching Defendants with profits at Plaintiffs’

  expense.

         54.     Defendants’ above-described unlawful actions constitute counterfeiting and

  infringement of the adidas Marks in violation of Plaintiffs’ rights under § 32 of the Lanham Act,

  15 U.S.C. § 1114.

         55.     Plaintiffs have no adequate remedy at law. Plaintiffs have suffered and will

  continue to suffer irreparable injury and damages due to Defendants’ above-described activities if

  Defendants are not preliminarily and permanently enjoined. Additionally, Defendants will

  continue to wrongfully profit from their illegal activities.

                    COUNT II - FALSE DESIGNATION OF ORIGIN
             PURSUANT TO § 43(a) OF THE LANHAM ACT (15 U.S.C. § 1125(a))

         56.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 48 above.

         57.     Defendants’ Counterfeit Goods bearing, offered for sale, and sold using copies of

  one or more of the adidas Marks have been widely advertised and offered for sale throughout the

  United States via the Internet.

         58.     Defendants’ Counterfeit Goods bearing, offered for sale, and sold using copies of

  one or more of the adidas Marks are virtually identical in appearance to Plaintiffs’ genuine goods.

  However, Defendants’ Counterfeit Goods are different in quality. Accordingly, Defendants’




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  activities are likely to cause confusion among consumers as to at least the origin or sponsorship of

  their Counterfeit Goods.

         59.     Defendants have used in connection with their advertisement, offer for sale, and

  sale of the Counterfeit Goods, false designations of origin and false descriptions and

  representations, including words or symbols which falsely describe or represent such goods and

  have caused such goods to enter commerce in the United States with full knowledge of the falsity

  of such designations of origin and such descriptions and representations, all to Plaintiffs’

  detriment.

         60.     Defendants have each authorized infringing uses of one or more of the adidas Marks

  in Defendants’ advertisement and promotion of their counterfeit and infringing branded goods.

  Some Defendants have also misrepresented to members of the consuming public that the

  Counterfeit Goods being advertised and sold by them are genuine, non-infringing goods.

         61.     Additionally, many Defendants are simultaneously using counterfeits and

  infringements of one or more of the adidas Marks to unfairly compete with Plaintiffs and others

  for space within organic and paid search engine and social media results. Defendants are thereby

  jointly (i) depriving Plaintiffs of valuable marketing and educational space online which would

  otherwise be available to Plaintiffs, and (ii) reducing the visibility of Plaintiffs’ genuine goods on

  the World Wide Web, and across social media platforms.

         62.     Defendants’ above-described actions are in violation of Section 43(a) of the

  Lanham Act, 15 U.S.C. §1125(a).

         63.     Plaintiffs have no adequate remedy at law. Plaintiffs have suffered and will

  continue to suffer both individual and indivisible irreparable injury and damages due to




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  Defendants’ above-described activities if Defendants are not preliminarily and permanently

  enjoined. Additionally, Defendants will continue to wrongfully profit from their illegal activities.

                 COUNT III - CLAIM FOR RELIEF FOR CYBERSQUATTING
                  UNDER §43(d) OF THE LANHAM ACT (15 U.S.C. §1125(d))
                            (Against Defendants Numbers 1–16 only)

          64.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 48 above.

          65.     Defendant Numbers 1–16 have acted with the bad faith intent to profit from the

  adidas Marks and the goodwill associated with the adidas Marks by registering and using the

  Cybersquatted Subject Domain Names.

          66.     The adidas Marks were distinctive and famous at the time Defendant Numbers 1–

  16 registered the Cybersquatted Subject Domain Names.

          67.     The Cybersquatted Subject Domain Names are identical to, confusingly similar to

  or dilutive of at least one of the adidas Marks.

          68.     Defendant Numbers 1–16’s registration and maintenance of the Cybersquatted

  Subject Domain Names was done with knowledge and constitutes a willful violation of Plaintiffs’

  rights in the adidas Marks. At a minimum, Defendants’ conduct constitutes reckless disregard for

  and willful blindness to Plaintiffs’ rights.

          69.     Defendant Numbers 1–16’s actions constitute cybersquatting in violation of §43(d)

  of the Lanham Act, 15 U.S.C. §1125(d).

          70.     Plaintiffs have no adequate remedy at law. Plaintiffs have suffered and will

  continue to suffer irreparable injury and damages due to Defendant Numbers 1–16’s above-

  described activities if Defendant Numbers 1–16’s are not preliminarily and permanently enjoined.




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  Additionally, Defendant Numbers 1–16’s will continue to wrongfully profit from their illegal

  activities.

                    COUNT IV - COMMON LAW UNFAIR COMPETITION

          71.    Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 48 above.

          72.    This is an action against Defendants based on their (i) promotion, advertisement,

  distribution, offering for sale, and/or sale of goods using or bearing marks that are virtually

  identical to one or more of the adidas Marks, and (ii) creation and maintenance of an illegal,

  ongoing marketplace enterprise operating in parallel to the legitimate marketplace in which

  Plaintiffs sell their genuine goods, in violation of Florida’s common law of unfair competition.

          73.    Specifically, Defendants are each promoting and otherwise advertising, selling,

  offering for sale, and/or distributing goods using counterfeits and infringements of one or more of

  the adidas Marks. Defendants are also each using counterfeits and infringements of one or more

  of the adidas Marks to unfairly compete with Plaintiffs and others for (i) space in search engine

  and social media results across an array of search terms and/or (ii) visibility on the World Wide

  Web.

          74.    Defendants’ infringing activities are likely to cause and are causing confusion,

  mistake and deception among consumers as to the origin and quality of Defendants’ websites as a

  whole and all products sold therein by their use of the adidas Marks.

          75.    Plaintiffs have no adequate remedy at law. Plaintiffs have suffered and will

  continue to suffer irreparable injury and damages due to Defendants’ above-described activities if

  Defendants are not preliminarily and permanently enjoined. Additionally, Defendants will

  continue to wrongfully profit from their illegal activities.



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                 COUNT V - COMMON LAW TRADEMARK INFRINGEMENT

           76.   Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 48 above.

           77.   This is an action for common law trademark infringement against Defendants based

  on their promotion, advertisement, offering for sale, and sale of their Counterfeit Goods using one

  or more of the adidas Marks.

           78.   Plaintiffs are the owners of all common law rights in and to the adidas Marks.

           79.   Specifically, each Defendant is promoting and otherwise advertising, distributing,

  offering for sale, and selling goods using or bearing infringements of one or more of the adidas

  Marks.

           80.   Defendants’ infringing activities are likely to cause and are causing confusion,

  mistake and deception among consumers as to the origin and quality of Defendants’ Counterfeit

  Goods bearing the adidas Marks.

           81.   Plaintiffs have no adequate remedy at law. Plaintiffs have suffered and will

  continue to suffer irreparable injury and damages due to Defendants’ above-described activities if

  Defendants are not preliminarily and permanently enjoined. Additionally, Defendants will

  continue to wrongfully profit from their illegal activities.

                                       PRAYER FOR RELIEF

           82.   WHEREFORE, Plaintiffs demand judgment on all Counts of this Complaint and

  an award of equitable relief and monetary relief against Defendants as follows:

                 a.      Entry of temporary, preliminary, and permanent injunctions pursuant to 15

  U.S.C. § 1116, 28 U.S.C. § 1651(a), The All Writs Act, and Federal Rule of Civil Procedure 65

  enjoining Defendants, their agents, representatives, servants, employees, and all those acting in



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  concert or participation therewith, from manufacturing or causing to be manufactured, importing,

  advertising or promoting, distributing, selling or offering to sell their Counterfeit Goods; from

  infringing, counterfeiting, or diluting the adidas Marks; from using the adidas Marks, or any mark

  or design similar thereto, in connection with the sale of any unauthorized goods; from using any

  logo, trade name, trademark or design that may be calculated to falsely advertise the services or

  goods of Defendants as being sponsored by, authorized by, endorsed by, or in any way associated

  with Plaintiffs; from falsely representing themselves as being connected with Plaintiffs, through

  sponsorship or association, or engaging in any act that is likely to falsely cause members of the

  trade and/or of the purchasing public to believe any goods or services of Defendants are in any

  way endorsed by, approved by, and/or associated with Plaintiffs; from using any reproduction,

  counterfeit, infringement, copy, or colorable imitation of the adidas Marks in connection with the

  publicity, promotion, sale, or advertising of any goods sold by Defendants; from affixing,

  applying, annexing or using in connection with the sale of any goods, a false description or

  representation, including words or other symbols tending to falsely describe or represent

  Defendants’ goods as being those of Plaintiffs, or in any way endorsed by Plaintiffs and from

  offering such goods in commerce; from engaging in search engine optimization strategies using

  colorable imitations of Plaintiffs’ names or trademarks; and from otherwise unfairly competing

  with Plaintiffs.

                     b.   Entry of temporary, preliminary, and permanent injunctions pursuant to 28

  U.S.C §1651(a), The All Writs Act, and the Court’s inherent authority, enjoining Defendants and

  all third parties with actual notice of an injunction issued by the Court from participating in,

  including providing financial services, technical services or other support to, Defendants in




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  connection with the sale and distribution of non-genuine goods bearing and/or using counterfeits

  or infringements of the adidas Marks.

                 c.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and

  the Court’s inherent authority, than, upon Plaintiffs’ request, those acting in concert or

  participation with Defendants who have notice of the injunction, as service providers cease

  hosting, facilitating access to, or providing any supporting service to any and all domain names,

  including but not limited to the Subject Domain Names, and websites through which Defendants

  engage in the promotion, offering for sale and/or sale of goods bearing and/or using counterfeits

  and/or infringements of the adidas Marks.

                 d.      Entry of an order pursuant to 15 U.S.C. § 1116, 28 U.S.C. § 1651(a), The

  All Writs Act, and the Court’s inherent authority, that upon Plaintiffs’ request, Defendants and the

  top level domain (TLD) Registry for each of the Subject Domain Names, and any other domain

  names used by Defendants, or their administrators, including backend registry operators or

  administrators, place the Subject Domain Names on Registry Hold status for the remainder of the

  registration period for any such domain name, thus removing them from the TLD zone files which

  link the Subject Domain Names, and any other domain names being used and/or controlled by

  Defendants to engage in the business of marketing, offering to sell, and/or selling goods bearing

  and/or using counterfeits or infringements of Plaintiffs Marks, to the IP addresses where the

  associated websites are hosted.

                 e.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and

  the Court’s inherent authority, canceling for the life of the current registration or, at Plaintiffs’

  election, transferring the Subject Domain Names and any other domain names used by Defendants




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  to engage in their counterfeiting of the adidas Marks to Plaintiffs’ control so they may no longer

  be used for unlawful purposes.

                 f.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and

  the Court’s inherent authority, that, upon Plaintiffs’ request, any Internet marketplace website

  operators and/or administrators, registrar and/or top level domain (TLD) Registry for the Subject

  Domain Names who are provided with notice of an injunction issued by the Court identify any e-

  mail address known to be associated with Defendants’ respective Subject Domain Name.

                 g.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and

  the Court’s inherent authority, authorizing Plaintiffs to serve the injunction on any e-mail service

  provider with a request that the service provider permanently suspend the e-mail addresses which

  are or have neem used by Defendants in connection with Defendants’ promotion, offering for sale,

  and/or sale of goods using counterfeits and/or infringements of the adidas Marks.

                 h.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and

  the Court’s inherent authority, authorizing Plaintiffs to request any Internet search engines which

  are provided with notice of the order, to permanently disable, de-index or delist all URLs of the

  Subject Domain Names by Defendants to promote, offer for sale and/or sell goods bearing

  counterfeits and/or infringements of the adidas Marks, based upon Defendants’ unlawful activities

  being conducted via the Subject Domain Names as a whole and via the URLs identified by

  Plaintiffs.

                 i.      Entry of an order requiring each Defendant, its agent(s) or assign(s), to

  assign all rights, title, and interest, to its Subject Domain Name(s), and any other domains names

  being used by Defendants to engage in the business of marketing, offering to sell, and/or selling

  goods bearing counterfeits and infringements of the adidas Marks, to Plaintiffs and, if within five



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  (5) days of entry of such order any Defendant fails to make such an assignment, the Court order

  the act to be done by another person appointed by the Court at any non-complying Defendant’s

  expense, such as the Clerk of Court, pursuant to Federal Rule of Civil Procedure 70(a).

                 j.      Entry of an order requiring each Defendant, its agent(s) or assign(s), to

  instruct all search engines to permanently delist or deindex the Subject Domain Name(s), and any

  other domains names being used by Defendants to engage in the business of marketing, offering

  to sell, and/or selling goods bearing counterfeits and infringements of the adidas Marks, and, if

  within five (5) days of entry of such order any Defendant fails to make such a written instruction,

  the Court order the act to be done by another person appointed by the Court at any non-complying

  Defendant’s expense, such as the Clerk of Court, pursuant to Federal Rule of Civil Procedure

  70(a).

                 k.      Entry of an order requiring Defendants to account to and pay Plaintiffs for

  all profits and damages resulting from Defendants’ trademark counterfeiting and infringing and

  unfairly competitive activities and that the award to Plaintiffs be trebled, as provided for under 15

  U.S.C. §1117, or that Plaintiffs be awarded statutory damages from each Defendant in the amount

  of two million dollars ($2,000,000.00) per each counterfeit trademark used and product type sold,

  as provided by 15 U.S.C. §1117(c)(2) of the Lanham Act.

                 l.      Entry of an order requiring Defendant Numbers 1–16 to account to and pay

  Plaintiffs for all profits and damages resulting from Defendant Numbers 1–16’s cybersquatting

  activities and that the award to Plaintiffs be trebled, as provided for under 15 U.S.C. §1117, or that

  Plaintiffs be awarded statutory damages from Defendant Numbers 1–16 in the amount of one

  hundred thousand dollars ($100,000.00) per cybersquatted domain name used as provided by 15

  U.S.C. §1117(d) of the Lanham Act.



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                 m.      Entry of an award pursuant to 15 U.S.C. § 1117 (a) and (b) of Plaintiffs’

  costs and reasonable attorneys’ fees and investigative fees associated with bringing this action.

                 n.      Entry of an award of pre-judgment interest on the judgment amount.

                 o.      Entry of an Order requiring Defendants to pay the cost necessary to correct

  any erroneous impression the consuming public may have received or derived concerning the

  nature, characteristics, or qualities of Defendants’ products, including without limitation, the

  placement of corrective advertising and providing written notice to the public.

                 p.      Entry of an order for any further relief as the Court may deem just and

  proper.

  DATED: September 8, 2022.                     Respectfully submitted,

                                                STEPHEN M. GAFFIGAN, P.A.


                                                By: Stephen M. Gaffigan__________
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                                                Virgilio Gigante (Fla. Bar No. 082635)
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                             SCHEDULE A
            DEFENDANTS BY NUMBER AND SUBJECT DOMAIN NAME

                 Defendant
                                    Defendant / Domain Name
                  Number
                     1        adidas--australia.com
                     1        adidasbudapest.com
                     1        adidas-budapest.com
                     1        adidas-colombia.com
                     1        adidas-danmark.com
                     1        adidas-egypt.com
                     1        adidasfactoryoutletuk.com
                     1        adidasgreecegr.com
                     1        adidasguatemala.com
                     1        adidashonduras.com
                     1        adidashrvatskahr.com
                     1        adidashu.top
                     1        adidas-hungary.com
                     1        adidashungaryakcios.com
                     1        adidasinromania.com
                     1        adidasinsverige.com
                     1        adidas--ireland.com
                     1        adidasitaliasconti.com
                     1        adidasksa.com
                     1        adidaslovenskosk.com
                     1        adidasmagyarorszag.com
                     1        adidasmarimekkosuomi.com
                     1        adidasmaroc.com
                     1        adidasnicaragua.com
                     1        adidasnmdromania.top
                     1        adidasnz-sale.com
                     1        adidasonlineromania.com
                     1        adidasoutletmx.com
                     1        adidas-outletnz.com
                     1        adidasoutlettr.com
                     1        adidaspakistan.com
                     1        adidaspanama.com
                     1        adidaspolskapl.com
                     1        adidas-reduceri.com
                     1        adidasromania.biz
                     1        adidas--romania.com
                     1        adidasromonlineshop.com
                     1        adidas--schweiz.com

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                     1        adidasshoesgr.com
                     1        adidasshoesgreece.com
                     1        adidas-shoes-nz.com
                     1        adidasskonorge.com
                     1        adidasslevacz.com
                     1        adidassromania.com
                     1        adidasyeezyshoesuk.com
                     1        ecuador-adidas.com
                     1        osterreich-adidas.com
                     1        peru-adidas.com
                     1        sverige-adidas.com
                     2        adidas1949.club
                     2        adidas1949.online
                     2        adidas1949.top
                     2        adidas1984.fun
                     2        adidasair.top
                     2        adidasale.fun
                     2        adidasfun.shop
                     2        adidasfun.top
                     2        adidasneaker.club
                     2        adidasneaker.shop
                     2        adidassale.top
                     2        adidas-series.top
                     2        adidas-shopping.club
                     2        adidas-tribal.club
                     2        adidas-tribal.top
                     2        adidastunr.club
                     2        neoadidas.space
                     2        onadidas.top
                     2        superadidas.shop
                     2        ttadidas.com
                     2        usadidasrun.shop
                     3        adidasales.top
                     3        adidasneakers.shop
                     3        adidasoutlet.top
                     3        adidasrun1949.top
                     3        adidas-runner.shop
                     3        adidassales.top
                     3        adidassneakers.top
                     3        usadidas.club
                     3        usadidas-run.online
                     3        usadidas-sport.online
                     4        adidas-belgie.com

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                      5       adidasbutypl.com
                      5       adidasfactoryoutletsingapore.com
                      5       adidas--malaysia.com
                      5       adidasnorgeoutlet.com
                      5       adidas-philippines.com
                      5       adidasschuheat.com
                      6       adidas--canada.com
                      6       adidasencostarica.com
                      6       adidasfactoryoutlet.com
                      6       adidashoescanada.com
                      6       adidasirelandie.com
                      6       adidasnz.com
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                      6       adidasoutletwoodmead.com
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                     10       adidasshoesalefr.com
                     11       adidasyeezyoutlet.org
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                     11       fakeyeezys.us
                     11       slinexon.com
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                     13       adidasyeezys.org
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                     19       apairofwalk.com
                     19       dailyschoenen.com
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                     21       cheapchinajerseys.org
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                     21       wholesalefljerseysgest.com
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                     26       fashionsrep.co
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                     29       hotkicksbuy.com
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                     29       kicksbuyok.com
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                     31       hypebeastshoes.com
                     32       italyyeezy.com
                     33       luxxsports.live
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                     34       shopyeezy.shop
                     34       tigersjerseycap.com
                     35       yeezyscheap.com
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